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                         Case 3:21-cv-02983-M             Document 1-1 Filed 11/30/21 Page 1 of 2 PageID 6
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UNITED STATES OF AMERICA                                                                                    39.89138522 Bitcoin Seized from Exodus Wallet


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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
Tiffany H. Eggers, Assistant United States Attorney
1100 Commerce St., Third Floor, Dallas, Texas 75242


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          9,,, 5HODWHG&DVHV7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IDUHODWHGFDVHH[LVWVZKHWKHUSHQGLQJRUFORVHGLQVHUW
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G$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
